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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       CASE NO. 21-mj- 109
                                             :
               v.                            :
                                             :
SUZANNE IANNI                                :
                                             :
               Defendant.                    :
                                             :



                             NOTICE OF APPEARANCE
       The United States of America, through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant U.S. Attorney Brittany Keil is

entering her appearance as counsel for the United States.


                                             Respectfully submitted,

                                             Channing D. Phillips
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:     ___/s/ Brittany Keil_________________
                                             Brittany Keil
                                             Assistant United States Attorney
                                             D.C. Bar No. 500054
                                             555 4th Street, NW
                                             Washington, D.C. 20530
                                             (202) 252-7763
                                             brittany.keil@usdoj.gov
